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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

PHILLIP E MANNEBACH,                                  )
                                                      )
                              Petitioner,             )
                                                      )
                         v.                           )         No. 1:18-cv-01824-SEB-MJD
                                                      )
UNITED STATES OF AMERICA,                             )
                                                      )
                              Respondent.             )


  Entry Appointing Indiana Federal Community Defender and Setting Briefing Schedule

                                            I. Background

       Here, petitioner sought leave from the Seventh Circuit Court of Appeals to file a second

collateral attack under 28 U.S.C. 2255(h) based on the recent Supreme Court decision in Sessions

v. Dimaya, 135 S. Ct. 1204 (2018), which invalidated 18 U.S.C. § 16(b) on vagueness grounds.

See Dkt. 1-1.

                                        II. Briefing Schedule

       1.       The clerk shall forward a copy of this Entry to the United States Attorney for this

District. The United States is notified of the filing of the petitioner’s motion for relief and

memorandum in support pursuant to 28 U.S.C. § 2255.

       2.       Because the petitioner seeks modification of his sentence based on the recent

decision in Sessions, the Indiana Federal Community Defender (“IFCD”) is appointed to represent

the petitioner in this action. The IFCD shall have through July 16, 2018, to appear.

       3.       The IFCD shall have through August 30, 2018, to file a brief in support of the

§ 2255 motion.

       4.       The United States shall have forty-five (45) days after service in which to respond.
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       5.       The petitioner shall have twenty-one (21) days after service of the response in

which to reply.

       IT IS SO ORDERED.

       6/18/2018
Date:____________                           _______________________________
                                             SARAH EVANS BARKER, JUDGE
                                             United States District Court
                                             Southern District of Indiana

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